            Case 22-12856-amc                     Doc 1             Filed 10/25/22 Entered 10/25/22 14:03:02                           Desc Main
                                                                    Document      Page 1 of 9

     Fill in this information to identify your case:

     United States Bankruptcy Court for the:

     Eastern District of Pennsylvania
                                                E]
     Case number (Ifknown):                                         Chap‘er you are ﬁling under:
                                                                    a   Chapter 7
                                                                    [3 Chapter 11
                                                                    D Chapter 12
                                                                    CI Chapter 13                                                 El Check if this   is an
                                                                                                                                     amended ﬁling



Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                     06/22

The bankruptcy forms use you and Debtor 1 to refer to a debtor ﬁling alone. A married couple may ﬁle a bankruptcy case together—called a
joint case—and   In joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car.”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In jolnt cases, one of the spouses must report Information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 In all of the forms.
Be as complete and accurate as possible. If two married people are   ﬁling together, both are equalIy responsible for supplying correct
Information. If more space is needed, attach a separate sheet to this form. 0n the top of any additional pages, write your name and case number
(if known). Answer every question.

               Identify Yourself
                                        About Debtor 1:                                               About Debtor 2 (Spouse Only In a Joint Case):
1.     Your full name
       Write the name that is on your
       govemment—issued picture
                                        Charles
       identiﬁcation (for example,       Fm name                                                      F'rSt name

       your driver’s license or
       passport).                       Middle name                                                   Middle name

       Bring your picture               Bums
       identiﬁcation to your meeting    L35" name                                                     La?" name
       with the trustee,
                                        Sufﬁx (Sr., Jr., II, III)                                     Sufﬁx (Sr., Jr., II, III)




2.    All other names you
       have used in the last 8          Flrst name                                                    ﬁrst name
       years
       Include your man‘ied or          Middle name                                                   Middle name
       maiden names.
                                        Last name                                                     Last name



                                        First name                                                    Furs!   name


                                        Middle name                                                   Middle name


                                        Last name                                                     Last name




3.    Only the last 4 digits of
      yourSocialSecurity                xxx      -—xx—_0__6___1___9_                                  xxx      —xx—__________
      number or federal                 OR                                                            OR
      Individual Taxpayer
      Identiﬁcation number
      (ITIN)
                                        9’0‘     —   XX    “—_.         __.._.   _.__   —_            9XX      -     XX   —_ __ _____         _                      ;




Ofﬁcial Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                 page   1
              Case 22-12856-amc                        Doc 1          Filed 10/25/22 Entered 10/25/22 14:03:02                                Desc Main
                                                                      Document      Page 2 of 9

 Debtor   1
                 Charles                                    Burns                                        Case number    (“mm
                 F irst Name   Midﬁe Name                 Lag Name




                                            About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

 4.    Any business names
       and Employer                          a i have not used any business names or Ele.                     E] I have not used any business names or EINS.
       Identiﬁcation Numbers
       (EIN) you have used in
       the last 8 years                     Business name                                                     Business name

       Include trade names and
       doing business as names
                                            Business name                                                     Business name



                                            EN“-

                                            EN“

5.     Where you live                                                                                        If Debtor 2 lives at a different address:


                                            1030 Wayﬁeld Dr.
                                            Number           Street                                          Number          Street




                                            Norristown                               PA       19403
                                            City                                     State    ZIP Code       City                                    State      ZIP Code

                                            Montgomery
                                            County                                                           County


                                            If your mailing address is different from the one                If Debtor 2’s mailing address is different from
                                            above, ﬁll it in here. Note that the court will send             yours, ﬁll it in here. Note that the court will send
                                            any notices to you at this mailing address.                      any notices to this mailing address.



                                            Number          Street                                           Number         Street



                                            PO. Box                                                          PD. Box


                                            City                                    State     Z!P Code       City                                    State   ZIP Code




6.    Why you are choosing                  Check one:                                                       Check ane:
      this district to ﬁle for
      bankruptcy                                   Over the last 180 days before ﬁling this petition,        D   Over the last 180 days before ﬁling this petition,
                                                   I have lived in this district longer than in any              I have lived in this district longer than in any
                                                   other district.                                               other district.

                                            C]     Ihave another reason. Explain.                            D   I   have another reason. Explain.
                                                   (See 28 U.S.C. § 1408.)                                          (See 28 U.S.C. § 1408.)




     Ofﬁcial Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                                      page 2
              Case 22-12856-amc              Doc 1         Filed 10/25/22 Entered 10/25/22 14:03:02                                  Desc Main
                                                           Document      Page 3 of 9

 Debtor   1      Charles                        Burns                                       Case number   (ﬁ’lmown)
                  Fm Name   Mam               Last Name




                Tell the Court About Your Bankruptcy Case

7.     The chapter of the          Check one. (For a brief description of each. see Notice Required by 11 U. S. C. § 342(b) for Individuals Filing
       Bankruptcy Code you         for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
       are choosing to ﬁle
       under
                                   9 Chapter 7
                                   D    Chapter    11

                                   CI Chapter 12

                                   E] Chapter 13


8.     How you will pay the fee    El I will pay the entire fee when I ﬁle my petition. Please check with the clerk’s ofﬁce in your
                                      local court for more details about how you may pay. Typically, if you are paying the fee
                                      yourself, you may pay with cash, cashier's check, or money order. If your attorney is
                                      submitting your payment on your behalf, your attorney may pay with a credit card or check
                                        with a pre-printed address.

                                   Cl   I need to pay the fee in installments. If you choose this option, sign and attach the
                                        Application for Individuals to Pay The Filing Fee in Installments (Ofﬁcial Form 103A).

                                   9 I request that my fee be waived (You may request this option only if you are ﬁling for Chapter 7.
                                        Bylaw, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                        less than 150% of the ofﬁcial poverty line that applies to your family size and you are unable to
                                        pay the fee in installments). If you choose this option, you must ﬁll out the Application to Have the
                                        Chapter 7 Filing Fee Waived (Ofﬁcial Form 1038) and ﬁle it with your petition.


9.     Have you ﬁled for           E] No
       bankruptcy within the
       last 3 years?               D Yes.     District                             When                        Case number
                                                                                          MM I DO   /YYYY
                                              District                             When                        Case number
                                                                                          MM   / DD IYYYY
                                              Distn'ct                             When                        Case number
                                                                                          MM I DD   lYYYY



10.   Are any bankruptcy           L]   No
      cases pending or being
      ﬁled by a spouse who is      El Yes.    Debtor                                                           Relationship to you
      "at ﬁlmg ""5 case With                  District                            When                         Case number, ifknown
      you, or by a busmess                                                                MM (DD IYYYY
      partner, or by an
      afﬁliate?
                                              Debtor                                                           Redationship to you

                                              Dishict                             When                         Case number, if known
                                                                                          MM   [00 I YYYY


11-   DO _you   rent your          B No.     Go to line 12.
      rBSIdence?                   D    Yes. Has your landlord obtained an eviction judgment against you?

                                              D    No.    Gotoline   12.
                                              D   Yes. Fl" out Initial Statement About an Eviction Judgment Against You (Form 101A) and ﬁle it as
                                                  part of this bankruptcy petition.




     Ofﬁcial Form 101                         Voluntary Petition for Individuals Filing for Bankruptcy                                   page 3
            Case 22-12856-amc                           Doc 1                Filed 10/25/22 Entered 10/25/22 14:03:02                            Desc Main
                                                                             Document      Page 4 of 9

                  Charles                                           Burns




w
Debmr1                                                                                                           Case number mama)
                  HM Name       Middle Name                      Last Name




               Report About Any Businesses You Own as a Sole Proprietor

12.   Are you a sole proprietor               D   No. Go to Part 4.
      of any full- or part-time
      business?                               D Yes. Name and ‘ocaﬁon of business
      A sole proprietorship is a
      business you operate as an
                                                         Name of business, if any
      separate legal entity such as
      a corporation, partnership, or
                                                         Number              Street
      LLC.
      If you have more than one
      sole proprietorship, use a
      separate sheet and attach it
      to this petition.
                                                                 City                                                     State      ZIP Code


                                                         Check the appmpriate box to describe your business:
                                                         D          Health Care Business (as deﬁned in 11 U.S.C. § 101(27A))

                                                         D          Single Asset Real Estate (as deﬁned in 11 U.S.C. § 101(51B))

                                                         D          Stockbroker (as deﬁned in   11   U.S.C. § 101(53A))

                                                         CI Commodity Broker (as deﬁned in              11 U.S.C. §   101(6))
                                                         C] None of the above


13.   Are you ﬁling under                     If you are ﬁling under Chapter 11, the court must know whether you are a small business debtor or a debtor
      Chapter 11 of the                       choosing to proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you
      Bankruptcy Code, and                    are a small business debtor or you are choosing to proceed under Subchapter V. you must attach your
                                              most recent balance sheet, statement of operations, cash-ﬂow statement, and federal income tax return or
      are you a small business
                                              if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1115(1)(B).
      debtor or a debtor as
      deﬁned by 11 US. C. §                   B No.      I       am not ﬁling under Chapter 11.
      1 182(1)?
                                              D   No.   I am ﬁling under Chapter 11, but I am NOT a small business debtor according to the deﬁnition in
      For a deﬁniﬁon of small                           the Bankruptcy Code.
      business debtor, see
                                              CI Yes. I am ﬁling under Chapter  11, I am a small business debtor according to the deﬁnition in the Bankruptcy
      11   U.S.C.§101(51D).
                                                        Code, and I do not choose to proceed under Subchapter V of Chapter 11.
                                              D Yes.         I   am ﬁling under Chapter 11, I am a debtor according to the deﬁnition in § 1182(1) of the
                                                        Bankruptcy Code, and I choose to proceed under Subchapter V of Chapter 11.




 Ofﬁcial Form 101                                            Voluntary Petition for Individuals Filing for Bankruptcy                                      page 4
                 Case 22-12856-amc                      Doc 1            Filed 10/25/22 Entered 10/25/22 14:03:02                             Desc Main
                                                                         Document      Page 5 of 9

    Debtor   1      Charl BS                                    BU rns                                         Case number (iknown)
                    Fus‘Name         MaddieName               LastName




                   Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

     14.   Do you own or have any                 [2   No
              ro e    that ses or is
           :llerg’egyto {303203 threat            D Yes.       What is the hazard?
           of imminent and
           identifiable hazard to
prmaﬂhersafeiy?
     Or do you own             any
           property that needs
                                                               If immediate attention is needed, why is it needed?
           immediate attention?
           For example, do you own
           pen‘shable goods, or livestock
           that must be fed, or a building
           that needs urgent repairs?
                                                               Where is the property?
                                                                                        Number        Street




                                                                                        City                                          State   ZIP Code




    Ofﬁcial Form 101                                        Voluntary Petition for Individuals Filing for Bankruptcy                              page 5
           Case 22-12856-amc                               Doc 1            Filed 10/25/22 Entered 10/25/22 14:03:02                                         Desc Main
                                                                            Document      Page 6 of 9

                 CharIes                                            Burns
Debtor1
                 Fird Nam»      m       Mama                   I   W Mama
                                                                                                                    Case number      (ilknown)




              Explain Your Efforts to Receive a Brieﬁng About Credit Counseling

                                               About Debtor 1:                                                           About Debtor 2 (Spouse Only in a Joint Case):
15.   Tell the court whether
      you have received a
      brieﬁng about credit                     You must check one:                                                       You must check one:
      counseling.
                                               D       Ireceived a briefing from an approved credit                      D       Ireceived a brieﬁng from an approved credit
                                                       counseling agency within the 18I0 days before            I                counseling agency within the 180 days before I
      The law requires that you
                                                       certiﬁcate of completion.                                                 certiﬁcate of completion
      counseling before you ﬁle for
                                                       Attach a copy of the certiﬁcate and the payment                           Attach a copy of the cemﬁcate and the payment
      bankruptcy. You must
                                                       plan, ff any, that you developed with the agency.                         plan, if any, that you developed with the agency.
      truthfully check one of the
      following choices. If you
      cannot do so, you are not
                                               9 I received a brieﬁng from an approved credit                            C] I received a brieﬁng from an approved credit
                                                       counseling agency within the 180 days before I                       counseling agency within the 180 days before I
      eligible m ﬁle.
                                                       ﬁled this bankruptcy petition, but I do not have a                   ﬁled this bankruptcy petition, but I do not have a
                                                       certiﬁcate of completion.                                            certiﬁcate of completion.
      If you ﬁle anyway, the court
                                                       W‘rthin 14 days after you ﬁle this bankruptcy petition,                   Within 14 days after you ﬁle this bankruptcy petition,
      can dismiss your case, you
                                                       you MUST ﬁle a copy of the certiﬁcate and payment                         you MUST ﬁie a copy of the certiﬁcate and payment
      win lose whatever ﬁling fee
                                                       plan. if any.                                                             plan, if any.
      you paid, and your creditors        I

      can begin collection activities          D
      again.
                                                       Icertify that I asked for credit counseling                       D       !certify that I asked for credit counseling
                                                       services from an approved agency, but was                                 services from an approved agency, but was
                                                       unable to obtain those services during the 7                              unable to obtain those services during the 7
                                                       days afterl made my request, and exigent                                  days afterl made my request, and exigent
                                                       circumstances merit a 30-day temporary waiver                             circumstances merit a 30—day temporary waiver
                                                       of the requirement.                                                       of the requirement.
                                                   To ask for a 30-day temporary waiver of the                               To ask for a 30-day temporary waiver of the
                                                   requirement, attach a separate sheet explaining                           requirement, attach a separate sheet explaining
                                                   what efforts you made to obtain the brieﬁng, why                          what effons you made to obtain the brieﬁng, why
                                                   you were unable to obtain it before you ﬁled for                          you were unable to obtain it before you ﬁled for
                                                   bankruptcy, and what exigent circumstances                                bankruptcy, and what exigent circumstances
                                                   required you to ﬁle this case.                                            required you to ﬁle this case.
                                                   Your case may be dismissed if the court is                                Your case may be dismissed it the court is
                                                   dissatisﬁed wiih your reasons for not receiving a                         dissatisﬁed with your reasons for not receiving a
                                                   brieﬁng before you ﬁled for bankruptcy.                                   bn‘eﬁng before you ﬁled for bankruptcy.
                                                   If the court is satisﬁed with your reasons, you must                      If the court is satisﬁed with your reasons. you must
                                                   still receive a brieﬁng within 30 days aﬂer you ﬁle.                      still receive a brieﬁng within 30 days after you ﬁle.
                                                   You must ﬁle a certiﬁcate from the approved                               You must ﬁle a certiﬁcate from the approved
                                                   agency, along with a copy of the payment plan you                         agency. along with a copy of the payment plan you
                                                   developed, if any. If you do not do so. your case                         developed. 'rf any. If you do not do so, your case
                                                   may be dismissed.                                                         may be dismissed.
                                                   Any extension of the 30~day deadline is granted                           Any extension of the 30—day deadline is granted
                                                   only for cause and is limited to a maximum of 15                          only for cause and is limited to a maximum of 15
                                                   days.                                                                     days.

                                              CI   Iam not required to receive a brieﬁng about                           D   Iam not required to receive a brieﬁng about
                                                   credit counseling because of:                                             credit counseling because of:
                                                   C] Incapacity.           l have a mental illness or a mental              D       Incapacity.    I have a mental illness or a mental

                                                                            deﬁciency that makes me                                                 deﬁciency that makes me
                                                                            incapable of realizing or making                                        incapable of realizing or making
                                                                            rational decisions about ﬁnances.                                       rational decisions about ﬁnances.
                                                   D       Disability.      My physical disability causes me                 El Disability.         My physical disability causes me
                                                                            to be unable to participate in a                                        to be unabka to participate in a
                                                                            brieﬁng in person. by phone, or                                         brieﬁng in person, by phone. or
                                                                            through the intemet, even after I                                       through the intemet, even afterl
                                                                            reasonably tried to do 30.                                              reasonably tn'ed to do so.
                                                   U       Active duty.     I am currently on active military                D       Active duty.   Iam currently on active military
                                                                            duty in a military combat zone.                                         duty in a mﬂitary combat zone.
                                                   If you believe you are not required to receive a                          If you believe you are not required to receive a
                                                   brieﬁng about credit counseling, you must ﬁie a                           brieﬁng about credit counseling, you must ﬁle a
                                                   motion for waiver of credit counseling with the court.                    motion for waiver of credit counseling with the court.




Ofﬁcial Fotm 101                                             Voluntary Petition for Individuals Filing for Bankruptcy                                               page 6
           Case 22-12856-amc                          Doc 1                  Filed 10/25/22 Entered 10/25/22 14:03:02                                Desc Main
                                                                             Document      Page 7 of 9

Debtor‘l        Charles                                         Burns                                               Case number (Km)
               Fud   Nun'sa   “Mn Nan-w                       lNNarrua




 Part 6:     Answer These Questions for Reporting Purposes

                                              163.   Are your debts primarily consumer debts? Consumer debts are deﬁned in 11 U.S.C. § 101(8)
16,   What kind of debts do                          as “incurred by an individual primarily for a personal, family, or household purpose."
      you have?
                                                     D    No. Go to line 16b.
                                                     [2   Yes. Go to line 17.

                                                          v’v
                                                     money for a business or investment or through the operation of the business or investment
                                                     E    No. Go to line 160.
                                                     [I Yes. Go to line 17.
                                              16c. State the type of debts you owe that are not consumer debts or business debts.



17.   Are you ﬁling under
      Chapter 7?                              D    No.    I   am not ﬁling under Chapter 7. Go to line 18.

      Do you estimate that after              a Yes.      I am ﬁling under Chapter 7, Do you estimate that after any exempt property is excluded and

      any exempt property is                              administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      excluded and                                        [2    No
      administrative expenses
      are paid that funds will be                         D     Yes
      available for distribution
      to unsecured creditors?
18.   How many creditors do                   B  149                                             El Loco—5,000                          E] 25,001-50,ooo
      you estimate that you                   El 50.99                                           El 5.001—1o,ooo                        E] 50,001-1oo_000
      0W9?                                    D    100-199                                       El 10.001-25,ooo                       C] More than 100,000
                                              Cl 200-999

19.   How much do you                         El $m$5o,ooo                                       CI $1.000.001$10 million               El 350090030161 biilion
      estimate your assets to                 [2 $50,001-$100,000                                El $10,000,001-$50 million             Cl $1,ooo.ooo,oo14s1o billion
      be worth?                               El $1oo,oo1$5oo.ooo                                D $50,000.001-$1oo million             E] $10,ooo,ooo.oo1-$5o billion
                                              El $500,001-$1 million                             CI $100,000.001-$500 million           C] More than $50 billion

20.   How much do you                         El   sac-$50,000                                   El $1,000,001-s1o million              C] 350090090131 bmion
      estimate your liabilities               E
                                             $50,001-s100.ooo                                    El $1o,ooo,oo1-$5o million             El $1,000,000.001-$1o billion
      to be?                              Cl $1oo,oo1~$500,ooo                                   El $50,000,001-s1oo million            E] $1o,ooo.ooo,oo1-$50 billion
                                          El 55500901451 million                                 D   $100,000,00145500 million          U   More than $50 billion
             Sign Below
                                          l have examined this petition, and I declare under penalty of pen’ury that the infomation provided is true and
For you                                   correct.
                                          If I have chosen to ﬁle under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                          of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                          under Chapter 7.
                                          If no attorney represents me and I did not pay or agree to pay someone who is not an atlomey to help me ﬁll out
                                          this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                          I   request relief in accordance with the chapter of title 11, United States Code, speciﬁed in this petition.
                                          Iunderstand making a false statement. concealing property, or obtaining money or property by fraud in connection
                                          with a bankmptcy case can mutt in ﬁnes up to $250,000, or imprisonment for up to 20 years, or both.
                                          18 U.S.C. §§ 152 1341 ,‘1519;and*3571.
                                                                         *




                                                   Signaturenfﬁebtor           r}   ..   w                                Signature of Debtor 2

                                                   Executed on        10/24/2022                                          Executed on
                                                                         MM   IDD        IYYYY                                          MMIDD      lYYYY


 Ofﬁcial Form 101                                         Voluntary Petition for Individuals Filing for Bankruptcy                                           page 7
       Case 22-12856-amc                        Doc 1           Filed 10/25/22 Entered 10/25/22 14:03:02                                     Desc Main
                                                                Document      Page 8 of 9

09mm        Charles                                   B U ”'18                                   Case number     (a known}
            Chm. Mama   IlHrﬁa Mama              2   m4 Mama




                                      I, the attorney for the debtor(s) named in this petition, declare that i have informed the debtor(s) about eligibility
For your attorney, if you are         to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one                    available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                      the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) appiies, certify that I have no
If you are not represented            knowledge after an inquiry that the information in the schedules ﬁled with the petition is incorrect.
by an attorney, you do not
need to ﬁle this page.
                                      x                                                                   Date
                                          Signature ofAttomeyfor Debtor                                                      MM    1'
                                                                                                                                        DD   IYYYY




                                          Printed name



                                          Firm name



                                          Number       Street




                                         City                                                            State               ZIP Code




                                         Contact phone                                                   Email address




                                         Bar number                                                      State




Ofﬁciai Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                         page 8
          Case 22-12856-amc                    Doc 1                    Filed 10/25/22 Entered 10/25/22 14:03:02                         Desc Main
                                                                        Document      Page 9 of 9

Debtor1     Charles                                         Bums                                       Case number    (Irknown)
             I'm-o   m..."   wuuh van—v.               a   "a u-.."




For you if you are ﬁling this              The law allows you, as an individual, to represent yourself in bankruptcy court, but you
bankruptcy WithOUt an                      should understand that many people ﬁnd it extremely difﬁcult to represent
attorney                                   themselves successfully. Because bankruptcy has long-term ﬁnancial and legal
                                           consequences, you are strongly urged to hire a qualiﬁed attorney.
If you are represented by
an attorney, you do not                    To be successful you must correctlylﬁle and handle your bankruptcy case. The rules are very
need to ﬁle this page.
                                           mmmﬁmmmﬂmme
                                           technical, and a mistake or inaction may affect your rights. For example. your case may be
                                                                                                                 on ﬁme, attend a meehng or
                                           hearing, or cooperate with the court, case trustee. U.S. trustee, bankruptcy administrator, or audit
                                           firm if your case is selected for audit If that happens, you could iose your right to ﬁle another
                                           case, or you may lose protections, including the beneﬁt of the automatic stay.

                                           You must list all your property and debts in the schedules that you are required to ﬁle with the
                                           court Even if you plan to pay a particular debt outside of your bankmptcy, you must list that debt
                                           in your schedules. If you do not list a debt, ”we debt may not be discharged. If you do not list
                                           property or properly claim it as exempt, you may not be able to keep the property. The judge can
                                           also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
                                           case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
                                           cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
                                           Bankruptcy fraud is a serious crime; you could be ﬁned and imprisoned.
                                           If you decide to ﬁle without an attorney. the court expects you to follow the rules as if you had
                                           hired an attorney. The court will not treat you differently because you are ﬁling for yourself. To be
                                           successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
                                           Bankruptcy Procedure, and the local rules of the court in which your case is ﬁled. You must also
                                           be familiar with any state exemption laws that apply.


                                           Are you aware that ﬁling for bankruptcy is a serious action with long-term ﬁnancial and legal
                                           consequences?
                                           D      No
                                           a Yes
                                           Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
                                           inaccurate or incomplete, you could be ﬁned or imprisoned?
                                           C] No
                                           D   Yes

                                           Did you pay or agree to pay someone who is not an attorney to help you ﬁll out your bankruptcy forms?
                                           [.2 No
                                           Cl Yes. Name of Person
                                                            Attach Bankruptcy Petition Preparer’s Notice, Declaration, and Signature (Ofﬁcial Form 119)



                                           By signing here, I acknowledge that I understand the risks involved in ﬁling without an attorney.              l

                                           have read and understood this notice, and I am aware that ﬁling a bankruptcy case without an
                                           attopney may pause me tolesgmy rights or property if I do not properly handle the case.


                                           x’cwy
                                            Stgnatare‘uf‘DebtoH            -   ~‘   -   --—~
                                                                                                           x
                                                                                                               Signature of Debtor 2

                                           Date                       1 0/241, 2022                            Date
                                                                      MM/DD IYYYY                                                 MM/ DD/YYYY

                                           Contact phone                                                       Contact phone

                                           Cell phone                 2015382995                               Cell phone


                                           Email address              ViCk@Peak|’90-COIT|                      Email address



Ofﬁcial Form 101                                   Voluntary Petition for Individuals Filing for Bankruptcy

                                                                                        Admhmm
